                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

UNITED STATES OF AMERICA                    )
                                            )
v.                                          )        Case No. 3:09-cr-00240-3
                                            )        Judge Nixon
PAUL McQUIDDY                               )

                                           ORDER

       The Defendant Paul McQuiddy’s Motion to Extend the Filing Deadline (Doc. No. 2972)

is hereby GRANTED. Counsel for Defendant shall have a one-week extension to file the

supplemental brief.

       It is so ORDERED.

       Entered this the 25th day of October, 2016.


                                                     ________________________________
                                                     JOHN T. NIXON, SENIOR JUDGE
                                                     UNITED STATES DISTRICT COURT




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